                                          Case 5:20-cv-05799-LHK Document 357 Filed 11/13/20 Page 1 of 5




                                   1
                                   2

                                   3
                                   4

                                   5
                                   6
                                   7
                                   8                                  UNITED STATES DISTRICT COURT
                                   9
                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                         NATIONAL URBAN LEAGUE, et al.,                   Case No. 20-CV-05799-LHK
                                  11                   Plaintiffs,                        CASE MANAGEMENT ORDER
                                  12             v.
Northern District of California
 United States District Court




                                  13
                                         WILBUR L. ROSS, et al.,
                                  14                   Defendants.
                                  15
                                  16   Attorneys for Plaintiffs National Urban League; League of Women Voters; Black Alliance for Just
                                       Immigration; Harris County, Texas; King County, Washington; City of San Jose, California;
                                  17   Rodney Ellis; Adrian Garcia; and the NAACP: Steven Bauer, Sadik Huseny, and Melissa Sherry
                                  18   Attorneys for all Plaintiffs above, plus Navajo Nation: Ezra Rosenberg and Thomas Wolf
                                       Attorney for Plaintiff Navajo Nation: Jason Searle
                                  19   Attorney for Plaintiff City of Los Angeles, California: Danielle Goldstein
                                  20   Attorney for Plaintiff City of Salinas, California: Michael Mutalipassi
                                       Attorney for Plaintiff City of Chicago: Rebecca Hirsch
                                  21   Attorney for Plaintiff County of Los Angeles: David Holtzman
                                  22   Attorney for Plaintiff Gila River Indian Community: Donald Pongrace
                                       Defendants’ Attorneys: Alexander Sverdlov, Brad Rosenberg, and John Coghlan
                                  23
                                              On November 13, 2020, the Court held a case management conference. The Court set a
                                  24
                                       further case management conference on December 11, 2020 at 1:30 p.m. The parties shall file their
                                  25
                                       joint case management statement by December 9, 2020 at 2:00 p.m.
                                  26
                                  27
                                  28                                                  1
                                       Case No. 20-CV-05799-LHK
                                       CASE MANAGEMENT ORDER
                                          Case 5:20-cv-05799-LHK Document 357 Filed 11/13/20 Page 2 of 5




                                   1          After considering the parties’ proposed case schedules, the Court set the following case

                                   2   schedule:

                                   3
                                         Scheduled Event                                          Date
                                   4     Exchange Initial Disclosures                             November 18, 2020
                                   5     Further Case Management Conference                       December 11, 2020 at 1:30 p.m.

                                   6     Close of Fact Discovery                                  January 7, 2021
                                         Opening Expert Reports                                   January 14, 2021
                                   7
                                         Rebuttal Expert Reports                                  January 21, 2021
                                   8
                                         Close of Expert Discovery                                January 28, 2021
                                   9     Cross-Motions for Summary Judgment                       February 4, 2021
                                  10     (one per side in the entire case)
                                         Oppositions to Cross-Motions for Summary Judgment February 11, 2021
                                  11
                                         Hearing on Motions for Summary Judgment                  February 18, 2021 at 1:30 p.m.
                                  12
Northern District of California




                                         Motions in Limine                                        March 5, 2021
 United States District Court




                                  13     (three per side, limited to three pages each)

                                  14     Oppositions to Motions in Limine                         March 8, 2021
                                         Final Pretrial Conference                                March 11, 2021 at 1:30 p.m.
                                  15
                                         Bench Trial                                              March 19, 2021 at 9:00 a.m.
                                  16
                                         Length of Trial                                          5 days
                                  17
                                              After considering the parties’ proposals for discovery limits and deadlines, the Court set
                                  18
                                       the following discovery limits and deadlines:
                                  19
                                          •   Each side is limited to 10 interrogatories. Parties have 30 days to respond.
                                  20
                                          •   Each side is limited to 25 Requests for Admission (“RFAs”). Parties have 30 days to
                                  21
                                              respond.
                                  22
                                          •   Each side is limited to 2 sets of Requests for Production (“RFPs”), with no more than 25
                                  23
                                              RFPs total. Parties have 10 days to object. Parties must start producing documents, for
                                  24
                                              which no objections are asserted, within 14 days.
                                  25
                                          •   Each side is limited to 5 fact depositions, including 2 Federal Rule of Civil Procedure
                                  26
                                              30(b)(6) depositions.
                                  27
                                  28                                                     2
                                       Case No. 20-CV-05799-LHK
                                       CASE MANAGEMENT ORDER
                                          Case 5:20-cv-05799-LHK Document 357 Filed 11/13/20 Page 3 of 5




                                   1           Defendants filed two motions on November 10, 2020: a motion to dismiss for lack of

                                   2   jurisdiction, ECF No. 354; and a motion to stay all proceedings, ECF No. 355. At the November

                                   3   13, 2020 case management conference, Defendants raised the possibility of filing a third motion

                                   4   regarding discovery. In light of all the substantive briefing and rulings in the case thus far and

                                   5   Defendants’ two pending motions, the Court finds that a third motion regarding discovery would

                                   6   not be helpful to the Court.
                                               Discovery should proceed for at least the following four reasons. First, there is significant
                                   7
                                       merit to Plaintiffs’ claims. To be clear, Defendants may ultimately prevail on these claims.
                                   8
                                       However, the Court should not take the unusual step of staying discovery here. The Ninth Circuit
                                   9
                                       has held that “a district court may stay discovery when it is convinced that the plaintiff will be
                                  10
                                       unable to state a claim for relief.” Wenger v. Monroe, 282 F.3d 1068, 1077 (9th Cir. 2002)
                                  11
                                       ((alterations in original omitted) (quoting Wood v. McEwen, 644 F.2d 797, 801 (9th Cir. 1981)
                                  12
Northern District of California




                                       (per curiam)), as amended on denial of reh’g and reh’g en banc (Apr. 17, 2002)).
 United States District Court




                                  13
                                               Here, the Court is not “convinced that the plaintiff will be unable to state a claim for
                                  14
                                       relief.” Id. In fact, the Court has found that Plaintiffs are likely to succeed on the merits of their
                                  15
                                       Administrative Procedure Act (“APA”) arbitrary and capricious claim. Order Granting Plaintiff’s
                                  16
                                       Motion for Stay and Preliminary Injunction, ECF No. 208 (“Injunction Order”), at 44–74.
                                  17   Moreover, Defendants’ motion to dismiss does not argue that Plaintiffs fail to state an APA
                                  18   pretext claim or an Enumeration Clause claim.
                                  19           Instead, Defendants’ motion to dismiss raises the same threshold arguments that have
                                  20   already been rejected by this Court and the Ninth Circuit. Specifically, this Court has repeatedly
                                  21   ruled in Plaintiffs’ favor on Defendants’ threshold issues. See, e.g., Order to Produce the
                                  22   Administrative Record, ECF No. 86, at 9–17 (rejecting Defendants’ threshold arguments);
                                  23   Injunction Order, ECF No. 208, at 21–44 (same).
                                  24           Similarly, the Ninth Circuit has twice reviewed this Court’s Injunction Order. The first

                                  25   Ninth Circuit panel denied Defendants’ motion for an administrative stay of the Injunction Order.

                                  26   Order Denying Motion for Administrative Stay at 10, ECF No. 277. The second Ninth Circuit

                                  27   panel expressly rejected Defendant’s APA threshold arguments and implicitly rejected

                                  28                                                       3
                                       Case No. 20-CV-05799-LHK
                                       CASE MANAGEMENT ORDER
                                          Case 5:20-cv-05799-LHK Document 357 Filed 11/13/20 Page 4 of 5




                                   1   Defendants’ other threshold arguments. See Order Granting in Part and Denying in Part

                                   2   Emergency Motion for a Stay at 9–11, ECF No. 320 (rejecting the “government’s primary

                                   3   argument,” which is lack of final agency action).

                                   4          Nor can Defendants rely too heavily on the United States Supreme Court’s stay order. The

                                   5   Supreme Court’s stay did not address the merits of Plaintiffs’ claims. In fact, the stay was

                                   6   unaccompanied by an opinion. See Ross v. National Urban League, No. 20A62 (Oct. 13, 2020)
                                       (staying Injunction Order without opinion). The stay also could not have addressed two claims that
                                   7
                                       this Court has not yet reached: (1) APA pretext and (2) the Enumeration Clause.
                                   8
                                              Second, Plaintiffs’ claims involve the President’s July 21, 2020 memorandum to exclude
                                   9
                                       undocumented immigrants from the apportionment base. See Excluding Illegal Aliens from the
                                  10
                                       Apportionment Base Following the 2020 Census, 85 Fed. Reg. 44,679 (issued July 21, 2020;
                                  11
                                       published in the Federal Register July 23, 2020) (“Presidential Memorandum”). Three different
                                  12
Northern District of California




                                       three-judge courts across the country have held that the Presidential Memorandum unlawful. See
 United States District Court




                                  13
                                       State of New York v. Trump, 20-CV-5770-RCW-PWH-JMF, 2020 WL 5422959, at *2 (S.D.N.Y.
                                  14
                                       Sept. 10, 2020) (three-judge court) (per curiam); City of San Jose v. Trump, No. 20-CV-05167-
                                  15
                                       RRC-LHK-EMC, 2020 WL 6253433, at *1 (N.D. Cal. Oct. 22, 2020) (three-judge court) (per
                                  16
                                       curiam); Useche v. Trump, No. 20-CV-02225-PX-PAH-ELH, 2020 WL 6545886, at *1 (D. Md.
                                  17   Nov. 6, 2020) (three-judge court) (per curiam).
                                  18          Third, Defendants’ arguments to the contrary are unavailing. At today’s case management
                                  19   conference, Defendants argued for the first time that—even if the Court again were to rule against
                                  20   Defendants’ threshold arguments—discovery is still unwarranted on Plaintiffs’ Enumeration
                                  21   Clause claim. However, many courts allow discovery in cases that raise a constitutional claim in
                                  22   addition to APA claims. See, e.g., Grill v. Quinn, No. 10-CV-0757-GEB-GGH-PS, 2012 WL
                                  23   174873, at *2 (E.D. Cal. Jan. 20, 2012) (concluding that “discovery as to the non-APA [procedural
                                  24   due process] claim is permissible”); Puerto Rico Pub. Hous. Admin, v. U.S. Dep't of Hous. &

                                  25   Urban Dev., 59 F. Supp. 2d 310, 328 (D.P.R. 1999) (permitting discovery to proceed on

                                  26   constitutional claims accompanying an APA claim).

                                  27          In addition, other “courts have permitted some discovery when the APA and constitutional

                                  28                                                       4
                                       Case No. 20-CV-05799-LHK
                                       CASE MANAGEMENT ORDER
                                          Case 5:20-cv-05799-LHK Document 357 Filed 11/13/20 Page 5 of 5




                                   1   claims diverge in some meaningful way.” State of California v. U.S. Dep’t of Homeland Sec., No.

                                   2   19-CV-04975-PJH, 2020 WL 1557424, at *14 (N.D. Cal. Apr. 1, 2020) (analyzing cases and

                                   3   compelling discovery on equal protection claims); accord, e.g., J.L. v. Cissna, No. 18-CV-04914,

                                   4   2019 WL 2224851, at *1 (N.D. Cal. Mar. 8, 2019) (noting that “extra-record discovery is

                                   5   generally limited to cases where the constitutional claim does not overlap with the APA claim”).

                                   6   Here, Plaintiffs’ APA claims and Enumeration Clause claim “diverge in some meaningful way.”
                                       The APA claims focus on whether Defendants adequately analyzed and explained their adoption
                                   7
                                       of the Replan. See, e.g., Second Am. Compl. ¶¶ 463–474, ECF No. 352 (alleging Defendants
                                   8
                                       “suddenly changed their position” “without explanation”); id. ¶ 482 (alleging that the Presidential
                                   9
                                       Memorandum is the unstated reason for the Replan). By contrast, Plaintiffs’ Enumeration Clause
                                  10
                                       claim challenges whether the Replan in fact bears “a reasonable relationship to the
                                  11
                                       accomplishment of an actual enumeration”—specifically, whether defendants produced “a full,
                                  12
Northern District of California




                                       fair, and accurate count.” Id. ¶¶ 461 (quoting Wisconsin v. City of N.Y., 517 U.S. 1, 20 (1996)),
 United States District Court




                                  13
                                       464.
                                  14
                                              Fourth, as set forth above, the Court has significantly limited discovery to ease the burden
                                  15
                                       on Defendants. For example, although the Federal Rules of Civil Procedure (the “Federal Rules”)
                                  16
                                       permit 10 depositions per side. In the instant case, the Court cut that number in half. Each side is
                                  17   only permitted 5 depositions. See Fed. R. Civ. P. 30(a)(1); p. 2, supra. Similarly, the Federal Rules
                                  18   permit 25 interrogatories per side. In the instant case, the Court cut that number by 60%. Each side
                                  19   is only permitted 10 interrogatories. See Fed. R. Civ. P. 33(a)(1); p. 2, supra. Lastly, the Federal
                                  20   Rules permit an unlimited number of RFAs and RFPs, but the Court is permitting only 25 RFAs
                                  21   and 25 RFPs per side in the instant case. See Fed. R. Civ. P. 34, 36; p. 2, supra.
                                  22   IT IS SO ORDERED.
                                  23   Dated: November 13, 2020
                                  24                                                    ______________________________________
                                  25                                                    LUCY H. KOH
                                                                                        United States District Judge
                                  26
                                  27
                                  28                                                     5
                                       Case No. 20-CV-05799-LHK
                                       CASE MANAGEMENT ORDER
